Case 21-30589-MBK               Doc 3734       Filed 02/10/23 Entered 02/10/23 19:32:18                 Desc Main
                                             Document      Page 1 of 4



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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     ATTORNEYS FOR DEBTOR

     In re:                                                      Chapter 11

     LTL MANAGEMENT LLC, 1                                       Case No.: 21-30589 (MBK)

                                Debtor.                          Judge: Michael B. Kaplan

     LTL MANAGEMENT LLC,
                                Plaintiff,
     v.
                                                                 Adv. No. 22-1393 (MBK)
     JACQUELINE MIRIAM MOLINE,
                                Defendant.

                          NOTICE OF AGENDA OF MATTERS SCHEDULED
                         FOR HEARING ON FEBRUARY 14, 2023 AT 10:00 A.M.




 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.
Case 21-30589-MBK     Doc 3734     Filed 02/10/23 Entered 02/10/23 19:32:18          Desc Main
                                 Document      Page 2 of 4


                   Parties are directed to https://www.njb.uscourts.gov/LTL
                 for appearing via Zoom or in-person, or observing via Zoom
 STATUS CONFERENCE

       Pursuant to the Court’s January 31, 2023 order, a status conference is going
       forward.

 CONTESTED MATTERS NOT GOING FORWARD IN THE BASE CASE

 1.    The Official Committee of Tort Claimants’ Motion to Compel [Dkt. 3336] (the “Motion
       to Compel”).

       Status: This matter was previously heard at the December 20, 2022 hearing. As a
       result of continuing discussions between the Official Committee of Tort Claimants
       and the Debtor, the insurance discovery requests in the Motion to Compel have been
       largely resolved. The remainder of the Motion to Compel has been adjourned to
       March 20, 2023.

 2.    Debtor’s Motion for an Order Directing Plaintiff Law Firms to Disclose Third-Party
       Funding Arrangements [Dkt. 3551].

       Status: This matter has been adjourned to March 20, 2023.

 MATTER NOT GOING FORWARD IN THE MOLINE ADVERSARY

 3.    Plaintiff’s Motion for Limited Expedited Discovery [Adv. Dkt. 9].

       Status: This matter has been adjourned to March 20, 2023.

 CONTESTED MATTER GOING FORWARD

 4.    Motion of the Official Committee of Talc Claimants for Order Confirming Procedures for
       the Reimbursement of Expenses Incurred by Committee Member Representatives
       [Dkt. 3111] (the “Reimbursement Motion”).

       Status: The Debtor and the Official Talc Claimants Committee have resolved the
       Debtor’s objection. This matter is going forward solely with respect to the United
       States Trustee’s objection.

       Objection Deadline: December 6, 2022, by agreement.

       Related Documents:

       A.     Determination of Adjournment Request Granted [Dkt. 3150].

       B.     Determination of Adjournment Request Granted [Dkt. 3260].

       C.     Maune Raichle Hartley French & Mudd, LLC’s Response to Debtor’s Objection
              to the Reimbursement Motion [Dkt. 3452].

                                             -2-
Case 21-30589-MBK     Doc 3734     Filed 02/10/23 Entered 02/10/23 19:32:18           Desc Main
                                 Document      Page 3 of 4



       D.     Correspondence to the Court from the Official Committee of Talc Claimants,
              dated December 8, 2022 [Dkt. 3454].

       E.     Kimberly Naranjo’s Response to the Debtor’s Objection to the Reimbursement
              Motion [Dkt. 3468].

       F.     The Official Committee of Talc Claimants Reply in Support of the
              Reimbursement Motion [Dkt. 3504].

       G.     Determination of Adjournment Request Granted [Dkt. 3510].

       Objections Received:

       H.     United States Trustee’s Objection to the Reimbursement Motion [Dkt. 3254].

       I.     Debtor’s Objection to the Reimbursement Motion [Dkt. 3445].

 5.    Memorandum of Law in Support of Supplemental Filing by Movant Anthony Hernandez
       Valadez in Support of His Motion for an Order Granting Relief From the Automatic Stay
       and Preliminary Injunction, Filed on May 24, 2022, and Status Report [Dkt. 3698]
       (the “Valadez Stay Motion”).

       Status: This matter is going forward.

       Objection Deadline: At hearing, pursuant to the Order Granting Application to Shorten
       Time.

       Related Documents:

       A.     Motion by Movant Anthony Hernandez Valadez for an Order Granting Relief
              From the Preliminary Injunction to Allow Him to File His Asbestos Personal-
              Injury Action in California State Court, or, in the Alternative, (II) Conduct
              Discovery, and (III) Waiving the Fourteen Day Stay Under Federal Rule of
              Bankruptcy Procedure 4001(a)(3) [Dkt. 2348].

       B.     Maune Raichle Hartley French & Mudd LLC’s Joinder in Support of Motions by
              Anthony Hernandez Valdez and Audra Johnson for an Order Granting Relief
              from the Preliminary Injunction [Dkts. 2466, 2484].

       C.     Movant’s Reply to Debtor’s Objection to His Motion for an Order Granting Relief
              from the Preliminary Injunction or, in the Alternative, Conduct Discovery, and
              Waiving the Fourteen Day Stay Under Federal Rule of Bankruptcy
              Procedure 4001(a)(3) [Dkt. 2469].

       D.     Order Granting Limited Relief from the Automatic Stay [Dkt. 2836].

       E.     Letter to Court from Counsel to Movant Anthony Hernandez Valadez
              [Dkt. 2979].


                                             -3-
Case 21-30589-MBK     Doc 3734     Filed 02/10/23 Entered 02/10/23 19:32:18             Desc Main
                                 Document      Page 4 of 4



       F.     Claimant Anthony Hernandez Valadez’s Status Update [Dkt. 3489].

       G.     Application to Shorten Time [Dkt. 3699].

       H.     Order Granting Application to Shorten Time [Dkt. 3703].

       Objections Received:

       I.     Debtor’s Omnibus Objection to Anthony Hernandez Valadez’s and Audra
              Johnson’s Motions Seeking Relief from the Preliminary Injunction and Certain
              Related Relief [Dkt. 2429].



  Dated: February 10, 2023                     WOLLMUTH MAHER & DEUTSCH LLP

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                                             -4-
